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                             UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS



SECURITIES AND EXCHANGE
COMMISSION,                                       Civil Action No. 1:17-cv-11633

               Plaintiff,

       v.

NAVELLIER & ASSOCIATES, INC.,
and LOUIS NAVELLIER,

               Defendants.


      DEFENDANTS’ OPPOSITION TO SEC’S MOTION TO STRIKE (DKT#349)

       Plaintiff’s motion to strike Docket 348-1 should be denied as frivolous and meritless.

Contrary to the SEC’s misleading statement, Defendants have not filed “new” finding of fact or

conclusions of law. Nor are they “different” from the responsive proposed findings and

conclusions Defendants filed on November 13, 2020 (DKT#343) in response to the SEC’s

proposed finding. Contrary to the SEC’s assertion, the SEC has already “responded” to the

finding in its reply memorandum.

       As Defendants’ counsel pointed out in his meet and confer with SEC counsel this

morning (Group Exhibit 1 attached hereto) the proposed finding and proposed amended

judgment were submitted to the Court for its convenience as a stand alone document (just like

the SEC submitted a stand alone set of proposed findings) so it could more easily use

Defendants’ proposed findings.

       Defendants’ submission is simply a stand alone set of finding for which the Court can

more easily sign, revise or amend, rather than try to unravel or cull them out from Defendants’


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November 13, 2020 Responses, which had been combined with the SEC’s findings into one

document.

       Contrary to the SEC’s mischaracterization, Defendants’ stand alone proposed findings do

not “change” the findings previously submitted. It simply simplified and combined some

duplicative findings and conclusions. The SEC has not been “prejudiced” one bit because the

substance hasn’t changed and no new matter was added.

       As suspected, the SEC’s motion is simply an effort to continue to argue its amended

remedies motion by claiming that some findings would reverse this Court’s summary judgment.

That assertion was addressed in the SEC’s reply and Defendants’ sur-reply- i.e., the Court is

required to examine the “merits” to determine if the SEC-claimed disgorgeable awards are truly

“from wrongdoing.”

                                        CONCLUSION

       The SEC’s motion should be denied.

                                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed on this date through the ECF system and will

be sent to the registered participants as identified on the Notice of Electronic Filing (NEF) as of

this date of this filing.



DATED: December 3, 2020                                       By: Dan Cowan
                                                                  Dan Cowan




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